                  Case 2:15-cv-00280-KOB Document 12 Filed 02/27/15 Page 1 of 2
                                                                              STAYED,CLOSED,SPECIAL
                            United States District Court
                   Eastern District of Pennsylvania (Philadelphia)
                  CIVIL DOCKET FOR CASE #: 2:14−cv−06433−RBS

LUTZ v. COMMUNITY HEALTH SYSTEMS, INC. et al                Date Filed: 11/07/2014
Assigned to: HONORABLE R. BARCLAY SURRICK                   Date Terminated: 02/19/2015
Cause: 28:1332 Diversity−Breach of Contract                 Jury Demand: None
                                                            Nature of Suit: 380 Personal Property: Other
                                                            Jurisdiction: Diversity
Plaintiff
WILLIAM LUTZ                                   represented by BRIAN D. PENNY
INDIVIDUALLY AND ON BEHALF OF ALL                             GOLDMAN SCARLATO KARON & PENNY
OTHERS SIMILARLY SITUATED                                     PC
                                                              101 E. LANCASTER AVE., SUITE 204
                                                              WAYNE, PA 19087
                                                              484−342−0700
                                                              Email: penny@gskplaw.com
                                                              LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED


V.
Defendant
COMMUNITY HEALTH SYSTEMS, INC.                 represented by DANIEL A. CUTLER
A DELAWARE CORPORATION                                        BURNS WHITE LLC
                                                              100 FOUR FALLS SUITE 515
                                                              1001 CONSHOHOCKEN STATE ROAD
                                                              WEST CONSHOHOCKEN, PA 19428
                                                              484−567−5700
                                                              Email: dacutler@burnswhite.com
                                                              ATTORNEY TO BE NOTICED

                                                             STUART TURVILLE O'NEAL , III
                                                             BURNS WHITE LLC
                                                             100 FOUR FALLS SUITE 515
                                                             1001 CONSHOHOCKEN STATE ROAD
                                                             WEST CONSHOHOCKEN, PA 19428
                                                             484−567−5747
                                                             Email: soneal@burnswhite.com
                                                             ATTORNEY TO BE NOTICED

Defendant
COMMUNITY HEALTH SYSTEMS                       represented by THEODORE J. KOBUS , III
PROFESSIONAL SERVICES                                         BAKER & HOSTETLER LLP
CORPORATION                                                   45 ROCKEFELLER PLAZA
A DELAWARE CORPORATION                                        NEW YORK, NY 10111
                                                              212−589−4200
                                                              Email: tkobus@bakerlaw.com
                                                              ATTORNEY TO BE NOTICED
                    Case 2:15-cv-00280-KOB Document 12 Filed 02/27/15 Page 2 of 2

Date Filed     #    Docket Text

11/07/2014    Ï1    COMPLAINT against COMMUNITY HEALTH SYSTEMS PROFESSIONAL SERVICES
                    CORPORATION, COMMUNITY HEALTH SYSTEMS, INC. ( Filing fee $ 400 receipt number
                    110968.), filed by WILLIAM LUTZ.(pod, ) (Entered: 11/10/2014)

11/07/2014     Ï    DEMAND for Trial by Jury by WILLIAM LUTZ. (pod, ) (Entered: 11/10/2014)

11/07/2014     Ï    Summons Issued as to COMMUNITY HEALTH SYSTEMS PROFESSIONAL SERVICES
                    CORPORATION, COMMUNITY HEALTH SYSTEMS, INC.. Two Forwarded To: Counsel on
                    11/10/2014. (pod, ) (Entered: 11/10/2014)

11/18/2014    Ï2    AFFIDAVIT of Service by Michael Flynn re: served Summons upon Rose O'Neil by In Person on
                    11/17/2014 (PENNY, BRIAN) (Entered: 11/18/2014)

11/18/2014    Ï3    AFFIDAVIT of Service by Michael Flynn re: served Summons upon Rose O'Neil by In Person on
                    11/17/2014 (PENNY, BRIAN) (Entered: 11/18/2014)

12/08/2014    Ï4    MOTION to Stay or Extension to Respond (Uncontested) filed by COMMUNITY HEALTH
                    SYSTEMS PROFESSIONAL SERVICES CORPORATION.brief. (Attachments: # 1 Brief, # 2
                    Certificate of Conferral, # 3 Proposed Order)(KOBUS, THEODORE) (Entered: 12/08/2014)

12/08/2014    Ï5    Disclosure Statement Form pursuant to FRCP 7.1 including Community Health Systems, Inc. by
                    COMMUNITY HEALTH SYSTEMS PROFESSIONAL SERVICES CORPORATION.(KOBUS,
                    THEODORE) (Entered: 12/08/2014)

12/09/2014    Ï6    NOTICE of Appearance by STUART TURVILLE O'NEAL, III on behalf of COMMUNITY
                    HEALTH SYSTEMS, INC. with Certificate of Service(O'NEAL, STUART) (Entered: 12/09/2014)

12/09/2014    Ï7    Notice of Joinder in 4 Motion to Stay or Extension to Respond filed by COMMUNITY HEALTH
                    SYSTEMS, INC. Certificate of Service.(O'NEAL, STUART) Modified on 12/12/2014 (tjd).
                    (Entered: 12/09/2014)

12/11/2014    Ï8    ORDER THAT THE MOTION TO STAY ALL PROCEEDINGS IS GRANTED. SIGNED BY
                    HONORABLE R. BARCLAY SURRICK ON 12/10/2014. 12/11/2014 ENTERED AND COPIES
                    E−MAILED AND FAXED BY CHAMBERS.(kp, ) (Entered: 12/11/2014)

12/11/2014    Ï9    ORDER THAT COMMUNITY HEALTH SYSTEMS INC.'S MOTION FOR JOINDER IS
                    GRANTED. SIGNED BY HONORABLE R. BARCLAY SURRICK ON 12/10/2014.12/10/2014
                    ENTERED AND COPIES E−MAILED AND FAXED BY CHAMBERS(kp, ) Modified on
                    12/15/2014 (tjd). (Entered: 12/11/2014)

12/19/2014   Ï 10   NOTICE of Appearance by DANIEL A. CUTLER on behalf of COMMUNITY HEALTH
                    SYSTEMS, INC. with Certificate of Service(CUTLER, DANIEL) (Entered: 12/19/2014)

02/19/2015   Ï 11   Certified Copy of Conditional Transfer Order that the action on the attached schedule is transferred
                    under 28 USC 1407 to the Northern District of Alabama and with the consent of that court assigned
                    to the Honorable Karon O. Bowdre. Signed 2/17/2015 by Jeffery N. Luthi, Clerk of the Panel. (kp, )
                    (Entered: 02/19/2015)
